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                           EXHIBIT I
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                             CIVIL INVESTIGATIVE DEMAND

 To:    Alphabet Inc.
        c/o Paul Yetter
        Yetter Coleman LLP
        811 Main Street, Suite 4100
        Houston, Texas 77002
        pyetter@yettercoleman.com

        The Office of the Attorney General of Texas (“OAG”) is investigating anticompetitive

 conduct in markets relating to online advertising, online search, and mobile operating systems in

 Texas and the rest of the United States. Such activity may violate Section 15.05(b) of the Texas

 Free Enterprise and Antitrust Act of 1983, Tex. Bus. & Comm. Code § 15.01 et seq. (the “Act”).

        The OAG has reason to believe that you may have information and/or material relevant to

 its investigation and is therefore issuing you this Civil Investigative Demand (“CID”) for sworn

 oral testimony and production of documents. Pursuant to Section 15.10 of the Act, Google’s Chief

 Product Officer of YouTube, and Senior Vice President, Neal Mohan is instructed to appear

 at the Office of the Attorney General at 300 West 15th St., Austin, Texas 78701, at 10:00 a.m. on

 October 1, 2020, to give sworn, oral testimony.

                                            NOTICE

        Any person who, with intent to avoid, evade, or prevent compliance, in whole or part, with

 a CID, removes from any place, conceals, withholds, destroys, mutilates, alters, or by any other

 means falsifies any documentary material, or otherwise provides inaccurate information, is guilty

 of a misdemeanor and on conviction is punishable by a fine of not more than $5,000, or by

 confinement in county jail for not more than one year, or both. Objections to this demand may be
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 made in accordance with Section 15.10 of the Act.

        ISSUED on September 16, 2020.

                                                KEN PAXTON
                                                Attorney General of Texas

                                                JEFFREY C. MATEER
                                                First Assistant Attorney General

                                                RYAN BANGERT
                                                Deputy First Assistant Attorney General

                                                DARREN L. MCCARTY
                                                Deputy Attorney General for Civil Litigation

                                                KIM VAN WINKLE
                                                Chief, Antitrust Division

                                                BRET FULKERSON
                                                Deputy Chief, Antitrust Division



                                                /s/ Trevor E. D. Young
                                                TREVOR E. D. YOUNG
                                                State Bar No. 24084138
                                                Assistant Attorney General
                                                Antitrust Division
                                                Office of the Attorney General
                                                P.O. Box 12548
                                                Austin, Texas 78711
                                                (512) 936-2334
                                                trevor.young@oag.texas.gov
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                                CERTIFICATE OF SERVICE

        I certify that on September 16, 2020, a true and correct copy of this Civil Investigative

 Demand was sent via electronic mail and certified mail, return receipt requested, addressed as

 follows:

        c/o Paul Yetter
        Yetter Coleman LLP
        811 Main Street, Suite 4100
        Houston, Texas 77002
        pyetter@yettercoleman.com



                                                    /s/ Trevor E. D. Young
                                                    Trevor E. D. Young
                                                    Assistant Attorney General
